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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON


 PAULA A. POLIVKA,
                                                   Case No. 3:20-cv-1172-JR
                                 Plaintiff,

                        v.                         ORDER FOR FEES UNDER THE
                                                   EQUAL ACCESS TO JUSTICE ACT, 28
 COMMISSIONER, SOCIAL SECURITY                     U.S.C. § 2412(d)
 ADMINISTRATION,

                                 Defendant.


       It is hereby ORDERED that fees in the amount of$6,973.98 shall be awarded to Plaintiff

pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d). Attorney and paralegal fees in

the amount of$6,973.98 will be paid to Plaintiffs attorney, subject to verification that Plaintiff

does not have a debt which qualifies for offset against the awarded fees, pursuant to the Treasury

Offset Program as discussed in As/rue v. Ratliff, 560 U.S. 586 (2010).

       If Plaintiff has no such debt, then the check shall be made out to Plaintiffs attorney,

H. Peter Evans: 222 NE Park Plaza Drive, Suite 113, Vancouver, WA 98684. If Plaintiff has a

debt, then the check for any remaining funds after offset of the debt shall be made out to Plaintiff



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and mailed to Plaintiffs attorney's office at the address stated above.

IT IS SO ORDERED.

DATED this   JD        day of   C)etob�             2021.



                                                                  rable Jolie A. Russo
                                                             U.S. Magistrate Judge


Proposed Order submitted on October 19, 2021.

Isl H. Peter Evans
H. Peter Evans, OSB 012532
Attorney for Plaintiff




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